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 8                       UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,
                                                  NO. CR. S-11-056 LKK
12               Plaintiff,

13        v.                                            O R D E R

14   KEN WONG,

15               Defendant.
                                             /
16

17        Upon confirmation that the defendant has surrendered as

18   previously ordered by the court, his passport will be surrendered

19   to any member of his family designated by the defendant.

20        IT IS SO ORDERED.

21        DATED: May 30, 2013.

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